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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:20-cv-00742-RBJ

   JAMES COREY GOODE, individually, and GOODE
   ENTERPRISE SOLUTIONS INC.

                                            Plaintiffs,

   v.

   GAIA, INC., JAY WEIDNER, CLIF HIGH, BENJAMIN
   ZAVODNICK, ALYSSA MONTALBANO, JIRKA
   RYSAVY, BRAD WARKINS AND KIERSTEN MEDVEDICH

                                            Defendants.



         ENTRY OF APPEARANCE ON BEHALF OF DEFENDANT JAY WEIDNER


          Samuel J. Scheurich of The Burnham Law Firm, P.C hereby enters his

    appearance as counsel in this case for Defendant, Jay Weidner. Attorney Scheurich

    certifies that he is a member in good standing of the bar of this Court pursuant to

    D.C.COLO.LAttyR 5(a)(3)(c).




   Date: July 12, 2023


                                            Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

       I hereby certify that on July 12, 2023, I have caused to be electronically filed the foregoing with
the Clerk of Court using CM/EDF system which will send notification of such filing to the following e-
mail addresses:

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                                                     /s/ Jennifer N. Bacani
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